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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


    QORVO, INC.,                                   )
                                                   )
           Plaintiff,                              )
                                                   )
                                                   )     Case No. 1:21-cv-01417-JPM
    v.                                             )
                                                   )
    AKOUSTIS TECHNOLOGIES, INC., and               )
    AKOUSTIS, INC.,                                )
                                                   )
           Defendants.


                                           JUDGMENT

  JUDGMENT BY THE COURT. This action having come before the Court for a trial by jury,
  the issues having been tried and the jury duly rendered its verdict on May 17, 2024 (ECF No. 601),

  IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance with the
  jury verdict for Qorvo, Inc.:

  Claims 1 and 12 of U.S. Patent No. 7,522,018 are found to be INFRINGED by Akoustis
  Technologies, Inc. and Akoustis, Inc.

  Claims 9 and 10 of U.S. Patent No. 9,735,755 are found to be INFRINGED by Akoustis
  Technologies, Inc. and Akoustis, Inc.

  Akoustis Technologies, Inc. and Akoustis, Inc. were unjustly enriched by misappropriating
  thirty-seven (37) trade secrets from Qorvo, Inc. The misappropriation was willful and malicious.

  A Judgment is entered against Akoustis, Technologies, Inc. in the amount of $38,595,023 for
  damages caused by Akoustis Technologies, Inc.’s and Akoustis, Inc.’s infringement and
  misappropriation. Of these, unjust enrichment damages for misappropriation of trade secrets
  constitute $31,315,215.00, exemplary damages constitute $7,000,000.00, and damages for
  infringement constitute $279,808.00.

  APPROVED:
  _/s/ Jon P. McCalla_
  JON P. McCALLA
  UNITED STATES DISTRICT JUDGE

  _May 20, 2024____
  Date
